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                        7
                        8                            IN THE UNITED STATES DISTRICT COURT
                        9                                     DISTRICT OF ARIZONA
                    10         Melin Flores, an individual,                    Case No.: 2:19-cv-05293-PHX-ROS
                    11                     Flores,                             DEFENDANT’S RESPONSE IN
                                                                               OPPOSITION TO PLAINTIFF’S
                    12         vs.                                             MOTION FOR SUMMARY
                                                                               JUDGMENT
                    13         Dish Network, LLC, a foreign corporation,
                               and John and Jane Doe, individuals,
                    14
                                            Defendants.
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                    17                Defendant Dish Network Services, LLC (“DISH”) opposes Plaintiff Melin Flores’
                    18         (“Flores”) Motion for Summary Judgment (“Flores’ Motion”). Flores’ Motion (as with all of
                    19         her claims in this case) attempts to establish liability by imputing knowledge to DISH of a
                    20         medical condition that manifested more than two weeks after her termination. Flores did not
                    21         have a serious health condition during her DISH employment, and nothing in the information
                    22         Flores shared with DISH about any condition she did have during her employment
                    23         reasonably indicated that any of her absences were or should have been covered by the
                    24         FMLA. DISH in no way interfered with Flores’ FMLA rights, and Flores cannot establish
                    25         the elements of her an FMLA claim. Her motion for summary judgment should be denied.
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                        1                                           MEMORANDUM
                        2             Flores asserts she is entitled to summary judgment on her FMLA claims because: 1)
                        3      there is no dispute that she was ‘eligible’; 2) there is no dispute she was fired for absences,
                        4      and, 3) “notice is notice.” Flores’ Motion at 1-2. Flores misstates the elements of her FMLA
                        5      interference claim, and improperly attempts to oversimplify the issues to distract from the
                        6      lack of evidence supporting her FMLA interference. Her strategy fails.
                        7             To make out a prima facie case of FMLA interference, Flores must establish DISH
                        8      was covered by the FMLA; she was eligible for FMLA leave; she was entitled to FMLA
                        9      leave; she provided DISH sufficient notice of her need to take leave; and DISH denied her
                    10         the FMLA benefits to which she was entitled. See 29 U.S.C. §2615(a); see generally
                    11         Bachelder v. Am. W. Airlines, Inc., 259 F.3d 1112 (9th Cir. 2001) (discussing interference
                    12         claims). “The ‘FMLA is not implicated and does not protect an employee against
                    13         disciplinary action based upon []absences’ if those absences are not taken for one of the
                    14         reasons enumerated in the Act.” Bachelder, 259 F.3d at 1125. In this case, Flores was not
                    15         entitled to take FMLA leave because she did not have a serious health condition during her
                    16         employment, and failed to provide adequate notice that her absences may have been covered
                    17         by the FMLA. Her interference claim therefore fails, and her Motion should be denied.
                    18         I.     FLORES HAD NO SERIOUS HEALTH CONDITION
                    19                An absence from work is protected by the FMLA only when it is caused by a “serious
                    20         health condition that makes the employee unable to perform the functions of the position of
                    21         such employee.” 29 U.S.C. § 2612(a)(1). A “serious health condition” under the FMLA
                    22         means “an illness, injury, impairment or physical or mental condition” involving either: a)
                    23         “inpatient care as defined in § 825.114;” or b) “continuing treatment by a health care
                    24         provider as defined in § 825.115.” 29 C.F.R. §825.113. The only “illness, injury, impairment
                    25         or physical or mental condition” Flores had during her employment at DISH was a Urinary
                    26         Tract Infection (“UTI”) with which she was diagnosed on December 13, 2018. Doc. 53,
                    27         CSOF 58, 62, and 68. Unquestionably, Flores received no inpatient care during her DISH
                    28         employment. Id.
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                        1             Equally clear is Flores’ failure to establish she received “continuing treatment by a
                        2      health care provider as defined in § 825.115.” “Continuing treatment” is broken down into
                        3      five categories: a) treatment and incapacity for more than three consecutive days; b)
                        4      pregnancy and personal care; c) chronic conditions; d) permanent or long-term conditions;
                        5      and e) conditions requiring multiple treatments involving restorative surgery or would likely
                        6      result in more than three consecutive days of incapacity if untreated. See 29 C.F.R. §825.115
                        7      (a) through (e). Flores’ condition, and any treatment she had, was unrelated to pregnancy, a
                        8      chronic condition, or a permanent or long-term condition, did not involve restorative surgery,
                        9      and resolved with treatment. Doc. 53, CSOF 58, 62, and 68. Thus, Flores’ UTI can only be a
                    10         serious health condition if it involved treatment and incapacity “for more than three
                    11         consecutive, full calendar days.” See 29 C.F.R. §825.115(a) (emphasis added). 1 It did not.
                    12                First, in her Motion and associated declaration, Flores contends she was
                    13         “incapacitated” because on December 12 and 13 “the pain from [her] condition would have
                    14         prevented [her] from performing [her] job duties” and that she “could not perform [her] job
                    15         duties on December 14.” Flores Motion at 5-7; Doc. 47-1, Exhibit 3, ¶3. According to
                    16         Flores’s declaration, she was or would have been unable to perform the duties of her job for
                    17         – at most - three consecutive days. Id. However, to be a “serious health condition” under the
                    18         FMLA, an employee must be incapacitated “for more than three consecutive, full calendar
                    19         days.” See 29 C.F.R. §825.115(a) (emphasis added). By her own admission, her period of
                    20         incapacity was insufficient. See e.g., Nagy v. W. All. Bank, No. 2:16-CV-2095 JCM (GWF),
                    21         2018 U.S. Dist. LEXIS 104731, at *11 (D. Nev. June 22, 2018) (holding plaintiff not entitled
                    22         to FMLA leave where unable to produce evidence of an inability to work for more than three
                    23         calendar days); Nelson v. Fiskars Brands, No. 3:14-cv-00685-SB, 2015 U.S. Dist. LEXIS
                    24         124328, at *36 (D. Or. July 10, 2015) (holding similarly); Carter v. Rental Unif. Serv. of
                    25         Culpeper, Inc., 977 F. Supp. 753, 760 (W.D. Va. 1997) (“As a matter of law, an illness that
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                                Incapacity is defined as an “inability to work, attend school or perform other regular daily
                               activities due to the serious health condition, treatment therefore, or recovery therefrom.” 29
                    28         C.F.R §113(b).
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                        1      incapacitates an individual for only ... the two-day period the doctor advised [the employee]
                        2      to take off from work, is not covered by the FMLA.”).
                        3            Second, Flores has presented no evidence corroborating her self-serving declaration
                        4      that her condition “would have prevented [her] from performing [her] job duties” on
                        5      December 12 and 13. See Doc. 47-1, Exhibit 3, ¶3. Nothing in her medical records from
                        6      either her December 14 or December 17 doctor visits indicates Flores needed time off work,
                        7      or needed any leave from work because of her UTI. In fact, nothing in her medical records
                        8      indicates or supports her contention that she was “incapacitated” at any time during her
                        9      DISH employment. Flores’ self-serving testimony, standing alone, is insufficient to prove
                    10         incapacity under the FMLA. See Nagy, 2018 U.S. Dist. LEXIS 104731, at *11
                    11         (uncorroborated self-serving testimony not enough to establish inability to work for more
                    12         than three calendar days); Nelson v. Fiskars Brands, No. 3:14-cv-00685-SB, 2015 U.S. Dist.
                    13         LEXIS 124328, at *22-23 (D. Or. July 10, 2015); see also Schaar v. Lehigh Valley Health
                    14         Servs. Inc., 598 F.3d 156 (3rd Cir. 2010) (holding that some medical evidence is necessary to
                    15         show that the incapacitation was “due to” the serious health condition.); Culpepper v.
                    16         BlueCross BlueShield of Tenn., 321 Fed.Appx. 491, 496–97 (6th Cir. 2009) (holding that the
                    17         plaintiff's “own subjective testimony that she was too sore from surgery to work” was
                    18         insufficient to establish that her absences were covered by the FMLA where her medical
                    19         certification stated that she would need to be absent from work for two episodes of
                    20         incapacity lasting three days each); Caskey v. Colgate–Palmolive Co., 535 F.3d 585, 591
                    21         (7th Cir.2008) (holding that some medical evidence is necessary to establish a serious health
                    22         condition ); Frazier v. Iowa Beef Processors, Inc., 200 F.3d 1190, 1194-95 (8th Cir. 2000)
                    23         (affirming judgment as a matter of law against employee who provided no medical evidence
                    24         showing that he was incapacitated for more than three days).
                    25               Third, Flores’ self-serving uncorroborated declaration should be given no credence
                    26         because it contradicts her deposition testimony. See Conyers v. Roddy, No. 20-55143, 2020
                    27         U.S. App. LEXIS 37387, at *2 (9th Cir. Nov. 30, 2020) (“‘The general rule in the Ninth
                    28         Circuit is that a party cannot create an issue of fact by an affidavit contradicting his prior
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                        1      deposition testimony.’” (quoting Yeager v. Bowlin, 693 F.3d 1076, 1080 (9th Cir. 2012); see
                        2      also Nilsson v. City of Mesa, 503 F.3d 947, 952 n. 2 (9th Cir. 2007) (A “conclusory, self-
                        3      serving affidavit, lacking detailed facts and any supporting evidence, is insufficient to create
                        4      a genuine issue of material fact.”); Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1061
                        5      (9th Cir. 2002) (holding that no genuine issue exists when the only evidence presented is
                        6      uncorroborated and self-serving testimony). During her deposition, Flores testified she had
                        7      intermittent pain that never affected her ability to work, never bothered her enough that she
                        8      felt like she needed to talk to her supervisor/coach about it; and did not affect her ability to
                        9      care for herself until after her termination. Doc. 53, CSOF 57 and 68. Flores’ declaration that
                    10         she “would not have been able to work” on December 12 or 13 is completely inconsistent
                    11         with her deposition testimony, and fails to establish the incapacity her FMLA interference
                    12         claim requires.
                    13                Flores’ repeated attempt to cast her two pre-termination absences as occurring “in the
                    14         midst of obtaining a life-changing and critical diagnosis,” Flores’ Motion at 2, is farcical.
                    15         Flores had a UTI – which resolved after a course of antibiotics. Doc. 53, CSOF 58, 60, 68,
                    16         and 69. After her termination, she developed a cyst and was hospitalized for an infection.
                    17         Doc. 53, CSOF, 68-71. Medical conditions and hospitalizations that occurred after her
                    18         termination do not retroactively bring her December 14 and 17 absences within FMLA
                    19         coverage. There is no evidence that her cyst or subsequent infection was caused by or
                    20         connected to her UTI. And, even if her December 2018 UTI was connected to the conditions
                    21         she later developed in January 2019, Flores did not have any knowledge that such future
                    22         complications or hospitalization would occur. Flores future medical conditions were simply
                    23         not foreseeable at the time DISH terminated her employment. Consequently, she cannot
                    24         establish that during her employment at DISH she had a “serious health condition” under the
                    25         FMLA and her interference claim fails. See 29 C.F.R. §825.113.
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                        1      II.    FLORES GAVE INSUFFICIENT NOTICE OF ANY SERIOUS HEALTH
                        2      CONDITION
                        3             Flores’ FMLA interference claim also fails because she did not notify DISH that she
                        4      was or would be absent “under circumstances which indicate the FMLA might apply.”
                        5      Bachelder v. Am. W. Airlines, Inc., 259 F.3d 1112, 1130 (9th Cir.2001). Contrary to Flores’
                        6      assertion, at 2, that “notice is notice;” notice that you will not report to work is not notice of
                        7      your need to be absent because of a serious health condition under the FMLA. To be
                        8      sufficient under the FMLA, the notice must be substantively adequate, timely, and consistent
                        9      with the employer’s proscribed procedure. See 29 C.F.R. §825.302 and 303. Flores’ notice
                    10         fails on all three.
                    11                Flores’ notice was substantively inadequate. To succeed on her claim, Flores must
                    12         prove she provided information sufficient to reasonably apprise DISH that her absences were
                    13         due to a serious health condition. See Marquez v. Glendale Union High Sch. Dist., No. CV-
                    14         16-03351-PHX-JAT, 2018 U.S. Dist. LEXIS 173343, at *71-72 (D. Ariz. Oct. 9, 2018)
                    15         (“When an employee requests leave under the FMLA, the employer must be made aware that
                    16         the absence is due to a serious illness so that the employer can distinguish it from ordinary
                    17         sick-days.”); see also Hayduk v. City of Johnstown, 580 F.Supp.2d 429, 456 (W.D. Pa. 2008)
                    18         (“The employee must state the reason for the leave with some specificity; since most
                    19         requested leaves do not qualify under the FMLA to hold otherwise ‘would be to place a
                    20         substantial and largely wasted investigative burden on employers.’”) (quoting Aubuchon v.
                    21         Knauf Fiberglass GMBH, 359 F.3d 950, 951-52 (7th Cir.2004)).
                    22                The information Flores provided DISH is far from the “abundant, repetitive, and
                    23         fulsome” notice Flores claims. See Motion at 8. Rather, as Flores concedes, the only
                    24         information Flores conveyed to DISH was that she was “ill,” “sick,” had “pain,” and had
                    25         been or was going to the doctor. See Motion at 9. Such vague references and generalized
                    26         descriptions are insufficient as a matter of law. See De La Rama v. Illinois Dept. of Human
                    27         Servs., 541 F.3d 681, 687 (7th Cir. 2008) (“Calling in sick without providing additional
                    28         information does not provide sufficient notice under the FMLA.”); Satterfield v. Wal-Mart
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                        1      Stores, Inc., 135 F.3d 973, 980 (5th Cir. 1998) (notice from employee’s mother that she was
                        2      “sick” was not sufficient to reasonably apprise the employer of the employee’s request to
                        3      take time off for a serious health condition.); Mondonedo v. Frito-Lay, Inc., 2012 U.S. Dist.
                        4      LEXIS 64357, *10, 2012 WL 1632834 (D. MD, May 8, 2012) (“It is well-established that an
                        5      employee simply calling in ‘sick’ is insufficient to constitute adequate notice or even trigger
                        6      the employer’s obligation to investigate further.” And citing cases similarly holding); and
                        7      Phinizy v. Pharmacare, 569 F. Supp. 2d 512, 515 (W.D. Pa. 2008) (“[C]ase law is uniform in
                        8      recognizing that an interference claim cannot proceed where the notice provided for any
                        9      particular absence is ‘patently insufficient’ to inform the employer that it was the result of a
                    10         medical condition that might qualify for leave.”).
                    11                Importantly, when Flores returned to work after calling off on December 14, 2018,
                    12         “because she wasn’t feeling well,” Flores told her supervisor she was “feeling better” and
                    13         did not describe any recent incapacity, and did not share her UTI diagnosis. Further, Flores
                    14         admits she never told Brown she believed any medical condition she had, or thought she had,
                    15         would affect her ability to work, or that it might cause her to miss work. Doc. 53, CSOF 59.
                    16         DISH knew only that Flores was absent from work for two non-consecutive days – with no
                    17         information reasonably adequate to indicate the absences were because of any illness or
                    18         condition that might be covered by the FMLA. See Nelson v. Fiskars Brands, No. 3:14-cv-
                    19         00685-SB, 2015 U.S. Dist. LEXIS 124328, at *36-37 (D. Or. July 10, 2015) (“In giving
                    20         notice of intent to take FMLA leave, ‘[a]n employee shall provide sufficient information for
                    21         an employer to reasonably determine whether the FMLA may apply to the leave request.’”).
                    22         See also Sarnowski v. Air Brooke Limousine, Inc., 510 F.3d 398, 402 (3d Cir. 2007) (“[t]he
                    23         critical question is how the information conveyed to the employer is reasonably
                    24         interpreted.”); Brenneman v. MedCentral Health Sys., 366 F.3d 412, 421 (6th Cir. 2004)
                    25         (“[T]he critical test for substantively-sufficient notice is whether the information that the
                    26         employee conveyed to the employer was reasonably adequate to apprise the employer of the
                    27         employee’s request to take leave for a serious health condition that rendered him unable to
                    28         perform his job.”); Manuel v. Westlake Polymers Corp., 66 F.3d 758, 764 (5th Cir. 1995)
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                        1      (“The critical question is whether the information imparted to the employer is sufficient to
                        2      reasonably apprise it of the employee’s request to take time off for a serious health
                        3      condition.”).
                        4             Flores makes much of her providing copies of her doctor’s records evidencing her
                        5      UTI diagnosis at her termination meeting on December 21, 2018. However, nothing in those
                        6      records supports her contention that her UTI was a serious medical condition, or that she had
                        7      been incapacitated for more than three days. The records do not explain why she was absent,
                        8      do not indicate her UTI necessitated she be off work, and do not indicate she had been or
                        9      would be unable to work or care for herself for more than three days because of her UTI.
                    10         The records were insufficient to reasonably put DISH on notice that she suffered a serious
                    11         health condition. See Lackey v. Jackson Cty., 104 F. App”x 483, 489 (6th Cir. 2004) (holding
                    12         “ambiguous” doctors’ notes which did not explain the reasons for plaintiff’s absence from
                    13         work or state that plaintiff was incapacitated were insufficient to prove that plaintiff suffered
                    14         a serious health condition).
                    15                Flores, unconvincingly, represents that her presentation of a doctor’s note indicating
                    16         she had a UTI should have put DISH on notice that she was going to be hospitalized in
                    17         January 2019 for a cyst and infection. She has absolutely no evidence showing any
                    18         connection between her December 2018 UTI and any condition she developed in January
                    19         2019. Flores admits she has no understanding of when the cyst formed and concedes she
                    20         could not have placed DISH on notice of a condition of which she was unaware. Doc. 53.
                    21         CSOF 71. It defies logic that DISH should have been aware of Flores’ medical condition
                    22         before she was even aware of it, much less have affirmatively granted her leave when none
                    23         of her doctors – or plaintiff herself – indicated she needed it. No reasonable juror could
                    24         conclude Flores adequately notified DISH that she was or would be absent under
                    25         circumstances indicating the FMLA might apply. See Nelson, 2015 U.S. Dist. LEXIS
                    26         124328, at *38. Flores’ FMLA interference claim fails because the content of her notice was
                    27         deficient.
                    28                Flores’ notice was also untimely. When the need for leave is not foreseeable, “an
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                        1      employee must provide notice to the employer as soon as practicable under the facts and
                        2      circumstances of the particular case.” See 29 C.F.R. §303(a).          Flores was absent on
                        3      December 14, 2018, but worked her full shift on December 15 and December 16, 2018. She
                        4      did not, however, provide notice to DISH that the FMLA may apply to her December 14
                        5      absence on either of those days. She admittedly spoke to her supervisor on December 15,
                        6      and, when he inquired as to how Flores was doing, Flores simply stated she was “feeling
                        7      better.” Doc. 53, CSOF 59. She was absent again on December 17, and again, made no
                        8      attempt to notify DISH that the FMLA may apply to that absence during the subsequent
                        9      three days. Then, on December 21, 2018, a week after her first absence and only when she
                    10         was being informed of her termination for exceeding the maximum number of attendance
                    11         points, Flores disclose for the first time her UTI diagnosis. However, as noted above, nothing
                    12         in her doctor’s notes indicate she missed work or needed to miss work because of her UTI,
                    13         and Flores said nothing about any period of incapacity. Flores did not provide notice “as
                    14         soon as practicable under the circumstances.” See 29 C.F.R. §303(a).
                    15               Flores also failed to “comply with the employer’s usual and customary notice and
                    16         procedural requirements for requesting leave.” 29 CFR §825.303(c). DISH used the leaves
                    17         team/department to process leave requests and evaluate whether any absence was covered by
                    18         the FMLA. Doc. 53, CSOF 48. The leaves team was well advertised through trainings,
                    19         posters, the employee portal, and the distribution of leaves team contact cards. Doc. 53,
                    20         CSOF 16. Employees (including Flores) were regularly encouraged to contact the leaves
                    21         team to maximize excused absences, especially when they had abnormally high attendance
                    22         points, or indicated they may need to miss work for medical reasons. Doc. 53, CSOF 50 and
                    23         52. Flores was directed to the leaves team and provided with the team’s contact card on at
                    24         least two separate occasions. Doc. 53, CSOF 56. Flores never contacted the leaves team,
                    25         however. 2.
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                                Flores asserts, at 10, n. 4, that the fact that Flores never requested FMLA leave must mean
                               that she did not know about FMLA. Given the amount of notice and constant discussion
                    28         about attendance, her “not knowing” is highly unlikely (and extremely self-serving). Flores
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                        1             None of the cases Flores cites support her contention that the notice she provided
                        2      DISH was adequate. For example, Flores cites Escriba v. Foster Poultry Farms, Inc., 743
                        3      F.3d 1236 (9th Cir. 2014), ostensibly for the proposition that an employer may not disallow
                        4      or delay an employee’s use of FMLA leave for not complying with an internal procedure.
                        5      Motion at 8 and at 9, n. 2. However, Escriba does not so hold. The plaintiff in Escriba met
                        6      with her supervisor before taking time off to care for her ailing father in Guatemala. At issue
                        7      was whether the employee’s notification that the reason for her time away was to care for her
                        8      ailing father automatically triggered FMLA protections for her leave even though she
                        9      specifically chose to use paid vacation and declined to submit an FMLA leave request
                    10         through human resources. Id. at 1240. When the plaintiff did not return to work after her
                    11         vacation expired, and she did not contact her employer about FMLA leave, she was
                    12         terminated. In upholding the jury verdict in favor of the employer, the 9th Circuit first
                    13         affirmed that an employee may decline to use FMLA rights (preserving protected leave for
                    14         future use) (Id. at 1243-44) and then rejected the plaintiff employee’s assertion that “simply
                    15         mentioning an FMLA-qualifying reason for an absence triggers the Act’s protections.” (Id. at
                    16         1247). Nothing in Escriba’s facts are similar to the situation in this case, nor is the holding as
                    17         portrayed by Flores. Furthermore, unlike the plaintiff in Escriba (who took time off to care
                    18         for her ailing father), Flores’ absences were not due to any reason that would qualify under
                    19         the FMLA. Escriba simply does not apply.
                    20                Similarly, Flores’ citation to Nolan v. Hypercom Mfg. Res., 2001 U.S. Dist. LEXIS
                    21         14821 (D. Ariz. Mar. 22, 2001) is misplaced. Flores cites Nolan for the proposition that “all
                    22         prior absences that were necessary for the evaluation and treatment of the condition may be
                    23         protected, even if they were not protected at the time they occurred.” Motion at 7. However,
                    24         in Nolan, the court held the regulations prohibiting an employer’s retroactive designation of
                    25         leave as FMLA leave were invalid, and then granted the employer summary judgment
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                    27         not contacting the leaves team just as easily means she knew her condition was not covered,
                               or that she disregarded (or was careless about) the number of absence points she
                    28         accumulated.
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                        1      because – with that retroactive designation – the employee had exhausted FMLA leave.
                        2      Nolan, 2001 U.S. Dist. LEXIS 14821, at *22. Nolan is inapposite to this case.
                        3            Likewise, Flores’ reliance on Law v. Kinross Gold U.S.A., Inc., 651 F. App’x, 645
                        4      (9th Cir. 2016) for the proposition that “notice to the employer may be minimal” to trigger
                        5      FMLA protections, at 8, misses the mark. In Kinross, the court dismissed the plaintiff
                        6      employee’s FMLA interference claim because the plaintiff failed to establish he was eligible
                        7      for FMLA benefits since he failed to respond to the employer’s request for information. Id.
                        8      at 647. Unlike Flores, the employee plaintiff in Kinross notified his employer that he had
                        9      been hospitalized for four days. Id. Here, Flores was not hospitalized during her DISH
                    10         employment, did not notify DISH of any purported “incapacity,” and even if she had, her
                    11         alleged incapacity (which is supported only by her self-serving declaration and is
                    12         inconsistent with her deposition testimony) was for three days, not the four required for the
                    13         FMLA to apply. In other words, the information Flores provided to DISH was not similar to
                    14         the minimal information the plaintiff employee provided in Kinross.
                    15               Finally, even if the information Flores provided to DISH triggered its obligation to
                    16         inquire further (which it did not), Flores would nevertheless have been terminated because
                    17         her UTI was not a serious health condition under the FMLA. The uncontroverted evidence
                    18         demonstrates that had Flores provided information to DISH sufficient to raise the possibility
                    19         that her absences were covered by the FMLA, DISH would have paused the termination
                    20         process pending a determination by the leaves department as to whether the absences were
                    21         covered by the FMLA. Doc. 53, CSOF 54 and 64. And only if the leaves team determined
                    22         that the absences were covered by the FMLA would the absences have been excused. Doc.
                    23         53, CSOF 45. Flores falsely portrays a temporary reprieve from the termination process as a
                    24         fait accompli. See Motion at 11 (“Had Defendant considered Ms. Flores’ explanation and/or
                    25         medical records that it had requested at the time of her termination, Ms. Flores’ absences
                    26         would have been excused, and she would have remained employed.”). There is no evidence
                    27         that the leaves team would have approved FMLA leave for either absence. To the contrary,
                    28         Flores has no medical evidence supporting her contention that her UTI was a serious health
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                        1      condition under the FMLA, or that her UTI incapacitated her for more than three full
                        2      calendar days. Consequently, even had DISH paused the termination process, the result
                        3      would have been the same.
                        4      III.     FLORES IS NOT ENTITLED TO LIQUIDATED DAMAGES
                        5               Liquidated damages are not available to Flores because she has failed to establish her
                        6      FMLA interference claim as a matter of law, and the uncontroverted evidence establishes
                        7      DISH acted reasonably and in good faith when it terminated her employment for exceeding
                        8      the number of attendance points under DISH’s neutral attendance policy. See 29 U.S.C. §
                        9      2617(a)(1)(A)(iii). As discussed above, and in Defendant’s Motion for Summary Judgment
                    10         (Doc. 48), Plaintiff fails to present evidence from which a reasonable jury could conclude
                    11         DISH interfered with Flores’ FMLA rights or retaliated against her in any way. Moreover,
                    12         unrefuted evidence demonstrates that DISH acted reasonably and in good faith. The cases
                    13         cited by Flores in support of her liquidated damages claim do not support her contention that
                    14         DISH acted in bad faith, or that liquidated damage are justified in this case. For example, in
                    15         Pagan-Colon v. Walgreens of San Patricio, Inc., 697 F.3d 1, 15 (1st Cir. 2012) the court
                    16         upheld the lower courts conclusion that the employer acted in good faith and properly denied
                    17         liquidated damages. Id. at 15. Flores’ reliance on Thom v. American Standard, Inc., 666 F.3d
                    18         968, 977-78 (6th Cir. 2012) is similarly unavailing.
                    19                  In Thom, the court noted, “[t]o establish good faith under the FMLA, a defendant
                    20         must show that ‘it honestly intended to ascertain the dictates of the FMLA and to act in
                    21         conformance with it.’” Thom, 666 F. 3d at 977 (6th Cir. 2012). The court in Thom upheld
                    22         liquidated damages because the employer, in that case, changed the way it calculated the
                    23         amount of FMLA taken by the employee to a rolling calendar basis after the plaintiff’s
                    24         termination so that the employer could justify not extending an already approved leave, and
                    25         justify the termination based on “exhaustion of benefits.” Id. None of the facts in Thom are
                    26         similar to the case at bar.
                    27                  Here, DISH’s attendance policy is neutral and does not ascribe any points for
                    28
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                        1      absences covered by the FMLA or other leave laws. Doc. 53, CSOF 45. Flores was given
                        2      access to her attendance in real-time and her supervisor met with her weekly about
                        3      attendance. CSOF 47 and 55. DISH used a specialized team (the leaves department/team) to
                        4      evaluate whether any absence was covered by the FMLA. Doc. 53, CSOF 48. DISH
                        5      advertised its use of a leaves team during on-boarding/new-hire training and training videos,
                        6      as well as through a variety of methods including numerous posters throughout the building,
                        7      employee’s online portal, distribution of leaves team contact cards. Doc. 53, CSOF 50, 52
                        8      and 56. Before terminating Flores, DISH confirmed that she had not contacted the leaves
                        9      team and had no pending claims or leave requests. Doc. 53, CSOF 65.              These facts,
                    10         especially in light of Flores’ admissions that she never told her supervisor that her pain
                    11         affected her ability to work (Doc. 53, CSOF 57), did not share any alleged incapacity that her
                    12         pain caused, and did not share her UTI diagnosis until after the termination had been
                    13         approved (Doc. 53, CSOF 67), demonstrate DISH’s reasonableness and good faith conduct.
                    14         Liquidated damages are not appropriate in this case.
                    15         IV.     CONCLUSION
                    16                 Flores’ Motion should be denied because she fails to establish a prima facie case of
                    17         FMLA interference. During her employment with DISH, Flores’ only medical condition was
                    18         a UTI, which is not a serious health condition under the FMLA. Flores presents no evidence
                    19         that she was incapacitated for more than three full calendar days and the only evidence that
                    20         she was incapacitated at all during her employment is her self-serving declaration – which is
                    21         unsupported and conflicts with her deposition testimony. Flores also fails to establish that
                    22         she gave DISH adequate notice under the FMLA that either her December 14 or December
                    23         17 absences were or may have been covered by the FMLA. The only information Flores
                    24         provided was vague generalities. No reasonable juror could conclude that the information
                    25         Flores provided DISH was adequate notice under the FMLA. Flores’ motion for summary
                    26         judgment should be denied.
                    27         ///
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                        1            RESPECTFULLY SUBMITTED this 4th day of January, 2021.
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                        3
                        4                                                /s/ Misty Leslie
                                                                         Mark Ogden
                        5                                                Misty L. Leslie
                                                                         LITTLER MENDELSON, P.C.
                        6                                                Attorneys for Defendant
                        7
                               I hereby certify that I electronically
                        8      transmitted the attached document to the
                               clerk’s Office using the CM/ECF System for
                        9      filing and transmittal of a Notice of
                               Electronic Filing to the following CM/ECF
                    10         registrants, and mailed a copy of same to the
                               following if non-registrants, this 4th day of
                    11         January, 2021.
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